       Case 1:20-cv-00655-DAE          Document 381        Filed 02/21/23      Page 1 of 2

                                                                                           FILED
                        iN THE UNITED STATES DISTRICT COURT                             FEB 2 12023
                         FOR THE WESTERN DISTRICT OF TEXAS                           Lk us. sr C      K
                                   AUSTIN DIVISION

VOXER, INC. AND VOXER IP LLC,
                 PLAINTIFFS,

I!i                                                  CAUSE NO. 1:20-CV-00655-LY

META PLATFORMS, INC.
F/KIA FACEBOOK, INC. AND
INSTAGRAM LLC,
                 DEFENDANTS.

                                     FINAL JUDGMENT

       Before the court is the above-styled and numbered patent-infringement action. On September

12, 2022, the court called the above-styled and numbered action for jury selection and trial. After

the parties announced that they were ready for trial, the court empaneled a jury of eight legally

qualified jurors. The case proceeded and was submitted to the jury on September21, 2022. Thejury

returned a verdict on September 21, 2022, in favor of Plaintiffs Voxer, Inc. and Voxer IP LLC

(collectively, "Voxer") finding that Defendants Meta Platforms, Inc. f/k/a Facebook, Inc. and

Instagram LLC ("Facebook and Instagram") infringed Voxer' s United States Patent Nos. 10,142,270

and 10,511,557 ("270 patent and '557 patent"). The jury also found that Voxer proved that for

Facebook and Instagrarn's infringement, Voxer is entitled to recover damages in the sum of

$174,530,785, which represents a reasonable running royalty. Accordingly, the court renders the

following Final Judgment pursuant to Federal Rule of Civil Procedure 58.

       IT IS ORDERED that judgment is rendered in favor of Plaintiffs Voxer, Inc. and Voxer IP

LLC and against Defendants Meta Platforms, Inc. f/k/a Facebook, Inc. and Instagram LLC that

Facebook and Instagram directly infringe Claims 34,47,48, and 51 of the '270 patent, and Facebook

and Instagram directly infringe Claims 1 and 9 of the '557 patent.
       Case 1:20-cv-00655-DAE          Document 381         Filed 02/21/23     Page 2 of 2




       IT IS FURTHER ORDERED that Plaintiffs Voxer, Inc. and Voxer IP LLC shall recover

from Defendants Meta Platforms, Inc. f/k/a Facebook, Inc. and Instagram LLC running-royalty

damages in the sum of $174,530,785.

       IT IS FURTHER ORDERED that Plaintiffs Voxer, Inc. and Voxer IP LLC shall recover

from Defendants Meta Platforms, Inc. f/k/a Facebook, Inc. and Instagram LLC pre-judgment interest

from November 27, 2018, the date ofthe parties' hypothetical negotiation, to February 20,2023, the

day before rendition of this final judgment, on the amount of $174,530,785, at a rate of 3.91%

calculated as simple interest for a total amount of $28,904,497.56. The applicable rate is the rate

equal to the weekly average one-year constant maturity Treasury yield, as published by the Board

of Governors of the Federal Reserve System, for the calendar week preceding the date of the

judgment.

       IT IS FURTHER ORDERED that Plaintiffs Voxer, Inc. and Voxer IP LLC shall recover

from Defendants Meta Platforms, Inc. f/k/a Facebook, Inc. and Instagram LLC all costs of court.

       IT IS FURTHER ORDERED that Plaintiffs Voxer, Inc. and Voxer IP LLC shall recover

from Defendants Meta Platforms, Inc. f/k/a Facebook, Inc. and Instagram LLC post-judgment

interest on all of the above at the legally allowed rate of 4.87%, beginning on the date this final

judgment is rendered, computed daily to the date of payment, and shall be compounded annually.

28 U.S.C. § 1961(a).

       IT IS FURTHER ORDERED that the case is hereby CLOSED.

       SIGNED this                  day of February, 2023



                                                    TED STATE


                                                2
